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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

   Shenzhenjiermaoyiyouxiangongsi,                               Case No.: 0:22-cv-62215-AHS
   A Chinese Corporation
                                                                 Judge: Raag Singhal
                  Plaintiff,
                                                                 Magistrate Judge: Alicia O. Valle
                  v.

   The Partnerships And
   Unincorporated Associations
   Identified On Schedule “A”

                  Defendants.

   __________________________________

                     DECLARATION OF LYDIA PITTAWAY IN SUPPORT OF
               PLAINTIFF’S MOTION FOR ENTRY OF FINAL DEFAULT JUDGMENT

          I, Lydia Pittaway, declare and state as follows:

          1.      I am an attorney duly authorized and licensed to practice before all courts in the

   State of Florida and the Southern District of Florida. I am counsel of record for Plaintiff,

   Shenzhenjiermaoyiyouxiangongsi, a Chinese Corporation (“Plaintiff”), in the above captioned

   action. I submit this Declaration, which is filed in support of Plaintiff’s Motion for Entry of Final

   Default Judgment against Defendants, the Individuals, Business Entities, and Unincorporated

   Associations identified on Schedule “A” to Plaintiff’s Motion for Entry of Final Default

   Judgment (collectively “Defaulting Defendants”). I am personally knowledgeable of the matters

   set forth in this Declaration and, if called upon to do so, I could and would competently testify to

   the following facts set forth below.




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           2.         Plaintiff filed its Complaint on November 25, 2022 in order to combat the willful

   and intentional counterfeiting and infringement and false designation of origin by the Defendants

   marketing, offering for sale, and advertising with its federally registered Ma&Baby trademark.

   (D.E. 1 at ¶ 3).

           3.         On January 19, 2023, in order to facilitate the investigation of its claims and the

   identity and location of Defendants, Plaintiff moved for an order permitting expedited discovery.

   (D.E. 16). The Court granted the motion and authorized expedited third-party discovery. (D.E.

   20). This Court entered an order Authorizing Electronic Service of Process (D.E. 19), permitting

   Plaintiff to serve the Summonses, Complaint, and filings in this matter upon Defendants via

   electronic mail (“e-mail”) and via Plaintiff’s designated serving notice website by posting copies

   of     the     same         on     the     Internet     website     appearing      at     the    URL

   https://fordbanister.com/case-022-cv-62215-ahs-shenzhenjiermaoyiyouxiangongsi/.

           4.         On January 19, 2023, Plaintiff also moved for a temporary restraining order (D.E.

   14). On March 23, 2023, this Court granted the motion for a temporary restraining order by

   sealed order. (D.E. 17). On March 29, 2023, Plaintiff filed its Ex Parte Application to Extend

   Temporary Restraining Order. (D.E. 22). On April 6, 2023, this Court granted Plaintiff’s motion

   for extension of a temporary restraining order. (D.E. 23).

           5.         On April 13, 2023, Plaintiff filed its Motion for Preliminary Injunction. (D.E. 25).

   On April 18, 2023, Plaintiff served Defendants with the Preliminary Injunction and the

   corresponding notice of hearing. (D.E. 28). On May 5, 2023, this Court granted Plaintiff’s

   Motion for Preliminary Injunction. (D.E. 32).

           6.         The Temporary Restraining Order and Preliminary Injunction required, inter alia,

   third-party payment processors including, but not limited to Payoneer and Walmart and their




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   related companies and affiliates, to identify and restrain all funds in Defendants’ associated

   payment accounts, including all related financial accounts tied to, used by, or that transmit funds

   into, the respective Defendants’ financial accounts, and divert those funds to a holding account

   for the trust of the Court. Subsequently, my firm received notice from the third-party processors

   that it complied with the requirements of the Court’s Orders.

          7.      On April 14, 2023, pursuant to the Court’s Order, Plaintiff served Defendants with

   their respective Summons and a copy of the Complaint via email service and website posting.

   (D.E. 27).

          8.      The time allowed for Defendants to respond to the Complaint has expired.

          9.      To date, Defaulting Defendants have not filed any responsive pleadings to the

   Complaint, have not requested an enlargement of time to respond to the Complaint, nor have

   Defaulting Defendants entered a formal appearance pro se or by counsel on their behalf.

          10.     I am informed and believe that none of the Defaulting Defendants are infants or

   incompetent persons, and, upon information and belief, the Servicemembers Civil Relief Act

   does not apply.

          11.     On May 9, 2023, Plaintiff filed its Motion for Clerk’s Entry of Default as to the

   remaining Defendants. (D.E. 36). On May 10, 2023 the Clerk of Court entered default under

   Fed.R.Civ.P. 55(a). (D.E. 37).

          I declare under penalty of perjury under the laws of the United States of America that the

   foregoing is true and correct.

          Executed the 11th of May, 2023, at Fort Pierce, Florida.

                                                                Signature:     Lydia Pittaway

                                                                Affiant:       Lydia Pittaway




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